Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 1 of 16




                                                                    Transcript of John Caldwell
                                                                                        Date: February 1, 2022
                                                                                Case: Chestnut, et al. -v- Kincaid, et al.




                                                                    Planet Depos
                                                                    Phone: 888.433.3767
                                                                    Email: transcripts@planetdepos.com
                                                                    www.planetdepos.com



                                                                           WORLDWIDE COURT REPORTING & LITIGATION TECHNOLOGY
                                                                                                                             Transcript of John Caldwell                                          1 (1 to 4)

Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 2 of 16

                                                                                                                            Conducted on February 1, 2022
                                                                                                                                     1                                                                         3

                                                                    1                IN THE UNITED STATES DISTRICT COURT                  1    ON BEHALF OF THE DEFENDANTS:
                                                                    2                    FOR THE DISTRICT OF MARYLAND                     2          BALTIMORE CITY DEPARTMENT OF LAW
                                                                    3                                                                     3          OFFICE OF LEGAL AFFAIRS
                                                                    4    ALFRED CHESTNUT, et. al,                                         4          By:   Kyle Ashe
                                                                    5                  Plaintiffs,                                        5          City Hall, Room 101
                                                                    6                                                                     6          100 North Holliday Street
                                                                    7          vs.                          Case No.                      7          Baltimore, Maryland 21202
                                                                    8                                       1:20-CV-02342                 8          (410) 396-2496
                                                                    9    DONALD KINCAID, et al.,                                          9          Kyle.ashe@baltimorepolice.gov
                                                                    10                 Defendants.                                        10
                                                                    11 ___________________________                                        11 ALSO PRESENT:
                                                                    12                                                                    12 John Parkman - Video Technician
                                                                    13         The Videoconference Deposition of                          13 Jeff Knight - Planet Depos Technician
                                                                    14         JOHN CALDWELL                                              14
                                                                    15         Commencing at 10:12 a.m.                                   15
                                                                    16         Tuesday, February 1, 2022                                  16
                                                                    17         Before Renee J. Ogden, CSR-3455, RPR.                      17
                                                                    18                                                                    18
                                                                    19                                                                    19
                                                                    20                                                                    20
                                                                    21 Pages 1 - 23                                                       21
                                                                    22 Job No. 426700                                                     22




                                                                                                                                     2                                                                         4

                                                                    1    APPEARANCES:                                                     1                            TABLE OF CONTENTS
                                                                    2    ON BEHALF OF THE PLAINTIFFS:                                     2
                                                                    3          BROWN GOLDSTEIN & LEVY                                     3      WITNESS                                   PAGE
                                                                    4          By: Kobie S. Flowers                                       4      JOHN CALDWELL
                                                                    5                 Chelsea J. Crawford                                 5      EXAMINATION                                8
                                                                    6          120 East Baltimore Street                                  6      BY MR. KAMIONSKI
                                                                    7          Suite 2500                                                 7
                                                                    8          Baltimore, Maryland 21202                                  8
                                                                    9          (410) 962-1030                                             9                         INDEX TO EXHIBITS
                                                                    10         Kflowers@browngold.com                                     10     EXHIBIT                                   PAGE
                                                                    11         Ccrawford@browngold.com                                    11 (Exhibits not offered.)
                                                                    12                                                                    12
                                                                    13 ON BEHALF OF THE DEFENDANTS:                                       13
                                                                    14         NATHAN & KAMIONSKI LLP                                     14
                                                                    15         By:     Avi Kamionski                                      15
                                                                    16                 Mayer Engelsberg                                   16
                                                                    17         575 South Charles Street                                   17
                                                                    18         Suite 402                                                  18
                                                                    19         Baltimore, Maryland 21201                                  19
                                                                    20         (410) 630-4493                                             20
                                                                    21         Akamionski@nklawllp.com                                    21
                                                                    22         Mengelsberg@nklawllp.com                                   22




                                                                                                                             PLANET DEPOS
                                                                                                                888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                                             Transcript of John Caldwell                                  2 (5 to 8)

Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 3 of 16

                                                                                                                            Conducted on February 1, 2022
                                                                                                                                       5                                                               7
                                                                    1    Tuesday, February 1, 2022                                         1 and another lawyer by the name of Chelsea Crawford.
                                                                    2    10:12 a.m.                                                        2          MR. ASHE: Good morning. Kyle Ashe
                                                                    3
                                                                                                                                           3 appearing on behalf of the Baltimore Police
                                                                    4                 PLANET DEPOS TECH:    Thank you to everyone
                                                                                                                                           4 Department.
                                                                    5    for attending this proceeding remotely which we
                                                                                                                                           5          VIDEO TECHNICIAN: The court reporter today
                                                                    6    anticipate will run smoothly.      Please remember to
                                                                                                                                           6 is Renee Ogden representing Planet Depos.
                                                                    7    speak slowly and do your best not to talk over one
                                                                                                                                           7          Would the court reporter please swear in
                                                                    8    another.
                                                                    9                 Please be aware that we are recording this
                                                                                                                                           8 the witness.
                                                                    10 proceeding for backup purposes.        Any off-the-record           9          STENOGRAPHIC COURT REPORTER: I have a
                                                                    11 discussion should be had away from the computer.                    10 little read-on to do first.
                                                                    12 Please remember to mute your mic for those                          11         The attorneys participating in this
                                                                    13 conversations.                                                      12 deposition acknowledge that I am not physically
                                                                    14                Please have your video enabled to help the           13 present in the deposition room and that I will be
                                                                    15 reporter identify who is speaking.        If you are unable         14 reporting this deposition and administering the oath
                                                                    16 to connect with your video and are connecting via
                                                                                                                                           15 remotely.
                                                                    17 phone, please identify yourself each time before
                                                                                                                                           16         The parties and their counsel consent to
                                                                    18 speaking.
                                                                                                                                           17 this arrangement and waive any objections to this
                                                                    19                I apologize in advance for any
                                                                                                                                           18 manner of reporting.
                                                                    20 technical-related interruptions.        Thank you.
                                                                    21                VIDEO TECHNICIAN:    All right.   Give me just
                                                                                                                                           19         Counsel, please indicate your agreement on
                                                                    22 a moment and I will get us on the record.                           20 the record.
                                                                                                                                           21         MR. KAMIONSKI: We agree.
                                                                                                                                           22         MR. FLOWERS: Agree.
                                                                                                                                       6                                                               8
                                                                    1           This begins the video-recorded deposition                  1              MR. ASHE: BPD counsel agrees.
                                                                    2  of  John  Caldwell in the matter of Alfred Chestnut, et             2                     JOHN CALDWELL,
                                                                    3 al., versus Donald Kincaid, et al. in the                            3      was thereupon called as a witness herein, and after
                                                                    4 United States District Court, the District of                        4      having first been duly sworn or affirmed to testify to
                                                                    5 Maryland, case number 1:20-CV-02342.                                 5      the truth, the whole truth and nothing but the truth,
                                                                    6           Today's date Tuesday, February 1, 2022.                    6      was examined and testified as follows:
                                                                    7  The   time on the video monitor is now 10:12 a.m.                   7                      EXAMINATION
                                                                    8 Eastern Standard Time.                                               8      BY MR. KAMIONSKI:
                                                                    9           The videographer today is John Parkman                     9    Q. Good morning, Mr. Caldwell. How are you?
                                                                    10 representing Planet Depos.                                          10   A. I'm good. I got this big thing on the screen. I
                                                                    11          This video deposition is taking place                      11     don't know how we get this off of here. Wait a
                                                                    12 remotely   via Zoom video conference.                               12     minute.
                                                                    13          Would counsel please voice identify                        13   Q. You have to hit "got it." Probably the notification
                                                                    14 themselves and state whom they represent.                           14     that you are recording.
                                                                    15          MR. KAMIONSKI: Hi. This is Avi Kamionski.                  15   A. That's what it was.
                                                                    16 I represent the individual defendants along with                    16   Q. Can you see me okay?
                                                                    17 Michael Elliker and Mayer Engelsberg.                               17   A. Yes.
                                                                    18          MR. ASHE: Mr. Flowers, go ahead. I'm                       18   Q. Good morning, Mr. Caldwell. My name is Avi Kamionski.
                                                                    19 going to be fast, so please go ahead.                               19     I represent the individual police officers in this
                                                                    20          MR. FLOWERS: This is Kobie Flowers on                      20     lawsuit. Okay?
                                                                    21 behalf of the plaintiffs, Alfred Chestnut, Ransom                   21   A. Mm-hmm.
                                                                    22 Watkins, Andrew Stewart. I'm joined by a colleague                  22   Q. Have you ever given a deposition before, sir?
                                                                                                                              PLANET DEPOS
                                                                                                                 888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                                Transcript of John Caldwell                                   3 (9 to 12)

Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 4 of 16

                                                                                                               Conducted on February 1, 2022
                                                                                                                            9                                                             11
                                                                    1 A. No.                                                      1    I'm sorry. If you ever need a break, that's not a
                                                                    2 Q. Okay. You have testified in court, though, right?        2    problem. If you want to get something to drink, you
                                                                    3 A. Yes.                                                     3    want to go to the bathroom, the only thing that is
                                                                    4 Q. Very good. You brought up the first rule of              4    customary that we do is if there is a question
                                                                    5    testifying. It's really important that when you          5    pending, wait for the question -- answer the question
                                                                    6    answer questions today --                                6    and then say, hey, I have got to take a break and you
                                                                    7 A. Yes, sir.                                                7    can go to the bathroom. Just answer the question that
                                                                    8 Q. -- that you are answering questions audibly and not      8    is pending first. Do you understand that?
                                                                    9    mm-hmm or a nod of the head. Even though we're on        9 A. Yes, I understand.
                                                                    10 video, it's important that the court reporter is           10 Q. Okay. Mr. Caldwell, where do you currently live?
                                                                    11 taking down a record of what we're talking about, so       11 A. I don't have an address.
                                                                    12 it's important that her record is clear. And if you        12 Q. Where did you stay yesterday?
                                                                    13 give audible answers and I give audible questions,         13 A. Abandominium.
                                                                    14 that record will be clear. Do you understand that?         14 Q. I'm sorry. Can you say that again?
                                                                    15 A. Yes.                                                    15 A. Empty house.
                                                                    16 Q. The second part of this is there may be questions       16 Q. Empty house. Do you stay at this place on a regular
                                                                    17 where you anticipate where I'm going and you start         17 basis or --
                                                                    18 answering questions right away. That's normally what       18 A. Sometimes.
                                                                    19 happens in conversation with regular people.               19 Q. Are you currently -- I have to ask these questions to
                                                                    20 Unfortunately, the court reporter, she can only take       20 anybody. Are you currently under the influence of any
                                                                    21 down one thing at a time. It's important to wait for       21 drugs or alcohol at this time?
                                                                    22 me to finish asking my question before you give an         22 A. No. I mean, I haven't been to sleep for the last two
                                                                                                                            10                                                            12
                                                                    1    answer so the record is clear. Do you understand         1     or three days, but no.
                                                                    2    that?                                                    2  Q.  Sorry?
                                                                    3 A. Yes.                                                     3 A. I haven't been to sleep for the last two or three
                                                                    4 Q. There are going to be times when Mr. Flowers, Kobie      4     days, but, no.
                                                                    5    Flowers, who is the lawyer for the plaintiffs, he may    5 Q. Can you tell us briefly why you haven't been to sleep
                                                                    6    from time to time do something called an objection.      6     the last few days?
                                                                    7    I'm sure you have heard in court, objection, your        7  A.  I don't sleep a lot, man. When -- my life, the way it
                                                                    8    Honor, objection. You have heard that before?            8     is right now, I rarely sleep. I rarely sleep.
                                                                    9 A. Yes.                                                     9 Q. Do you think -- is there any reason that you would be
                                                                    10 Q. Here there is no judge that is going to rule on the     10 unable to give truthful and honest testimony today?
                                                                    11 objections, but it's another person that is speaking       11 A. No.
                                                                    12 during this deposition, so it's important not to speak     12 Q. Did you do anything to prepare for today's deposition?
                                                                    13 over Mr. Flowers' objections so that he can get them       13 Did you review any documents, for example?
                                                                    14 on the record as well. There is no judge who is going      14 A. No, I didn't get a chance to.
                                                                    15 to rule, so unless somebody tells you not to answer        15 Q. Okay. And when you say get a chance to, did you and I
                                                                    16 the question, you still answer the question anyways.       16 have a conversation yesterday?
                                                                    17 These are just preserved for the record and may come       17 A. Yeah, yes.
                                                                    18 back later on if a judge decides to rule on any            18 Q. And I had told you that we had sent you copies of your
                                                                    19 specific objection. Do you understand that?                19 transcripts to review. Do you remember that?
                                                                    20 A. Yes.                                                    20 A. Yes.
                                                                    21 Q. Also, it might be somewhat long today, so if you ever   21 Q. Did you ever get a chance to look at the transcripts?
                                                                    22 need a break at any time -- hopefully not too long.        22 A. No, not the ones you gave me. I did look over the
                                                                                                                   PLANET DEPOS
                                                                                                      888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                                  Transcript of John Caldwell                                     4 (13 to 16)

Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 5 of 16

                                                                                                                 Conducted on February 1, 2022
                                                                                                                               13                                                              15
                                                                    1    ones that is here.                                         1      objections. It's okay. I'm going to just rephrase
                                                                    2 Q. Can you show us what you have in front of you when you     2      the question to make it a little clearer.
                                                                    3    say the ones that are here? Just for the record, it        3               Have you spoken to anybody that has
                                                                    4    looks like it's John Caldwell's suppression hearing        4      represented Chestnut -- Mr. Chestnut, Mr. Watkins, or
                                                                    5    testimony dated --                                         5      Mr. Stewart since -- in the last two years?
                                                                    6 A. 5/4/84 and the other is 5/21/84.                           6    A. Are you asking since we had the meeting or the whole
                                                                    7 Q. The other one is the John Caldwell trial testimony.        7      time?
                                                                    8    Okay. Did you get a chance to review all of those          8    Q. Since the meeting, since the Sun Trust --
                                                                    9    transcripts before testifying today?                       9    A. No.
                                                                    10 A. No, not all of them.                                      10   Q. Can you just state your full name for the record?
                                                                    11 Q. If you had to estimate, how much of that, like,           11   A. John David Lamont Caldwell II.
                                                                    12 percentage, 5 percent, 10 percent? How much of those         12   Q. Is your date of birth June 2nd, 1968?
                                                                    13 total documents have you got a chance to review before       13   A. Yep. Yes, sir.
                                                                    14 today?                                                       14   Q. So today, Mr. Caldwell, I'm going to be asking you
                                                                    15 A. I would say less than 5 percent.                          15     some questions and going through what happened in
                                                                    16 Q. Okay. Prior to today, and prior to seeing those           16     November of 1983. Okay?
                                                                    17 transcripts, has anyone ever shown you your testimony        17   A. Yes, yes.
                                                                    18 from either the suppression hearing or the trial             18   Q. At the time in November of 1983, you were 15 years
                                                                    19 testimony prior to today?                                    19     old; is that correct? Does that make sense?
                                                                    20 A. No.                                                       20   A. I guess, yes.
                                                                    21 Q. Have you ever met with anybody that represents the        21   Q. I take it a lot of time has passed since 1983 until
                                                                    22 plaintiffs in this case?                                     22     today.
                                                                                                                               14                                                              16
                                                                    1    A. Yes.                                                    1    A. Yes, it definitely has. 15 years old. Good God, man.
                                                                    2    Q. Who did you meet with?                                  2    Q. Would you agree that your memory of what occurred was
                                                                    3    A. I think it was somebody that was representing them.     3      more accurate back in 1983 than it is today; is that
                                                                    4      It was somebody that was representing them. I went       4      fair?
                                                                    5      downtown on a -- at the Sun Trust Building that I met    5              MR. FLOWERS: Objection, leading, calls for
                                                                    6      with. I can't think of her name. I can't think of        6      speculation.
                                                                    7      their names. It was a guy and a lady. I can't think      7              You may answer, Mr. Caldwell.
                                                                    8      of their names. I met them at the Sun Trust Building     8    A. You still want me to answer?
                                                                    9      downtown. This was back in like, maybe, I want to say    9      BY MR. KAMIONSKI:
                                                                    10     like two years ago.                                      10   Q. Yes.
                                                                    11   Q. Any other meetings with anybody besides that meeting    11   A. Yes, compared to today, back then my memory was a lot
                                                                    12     about the case?                                          12     stronger. I was younger.
                                                                    13   A. No, uh-huh, nope.                                       13   Q. Right. Since 1983 -- when you gave your testimony
                                                                    14   Q. Okay. Did you ever have any telephone calls or phone    14     since 1983 until today, has anybody asked you to
                                                                    15     conversations with anybody that represents the           15     recant or change any of the statements that you made
                                                                    16     plaintiffs in this case?                                 16     to the police or testified to at trial?
                                                                    17   A. No, I don't think so.                                   17   A. No, no.
                                                                    18              MR. FLOWERS: Mr. Caldwell, let me go ahead      18   Q. Do you remember somebody by the name of Yvette Thomas?
                                                                    19     and put an objection on the record as to vague as to     19   A. No.
                                                                    20     plaintiffs.                                              20   Q. Do you remember someone by the name of Ron Bishop?
                                                                    21     BY MR. KAMIONSKI:                                        21   A. Vaguely.
                                                                    22   Q. That's what we were talking about before, the           22   Q. What do you --
                                                                                                                     PLANET DEPOS
                                                                                                        888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                                  Transcript of John Caldwell                                     5 (17 to 20)

Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 6 of 16

                                                                                                                 Conducted on February 1, 2022
                                                                                                                              17                                                               19
                                                                    1    A. Wait a minute, wait a minute. Ron Bishop, yeah, yeah,   1      Duckett back in November of 1983?
                                                                    2      yeah, yeah, I remember him.                              2    A. Remember the shooting? The shooting? I got to go to
                                                                    3    Q. What do you remember about him?                         3      sleep. Oh, my God.
                                                                    4    A. Me and Ron was cool. We was friends.                    4    Q. Mr. Caldwell, are you able -- are you okay?
                                                                    5    Q. When was the last time you spoke to Ron?                5    A. Yes, yeah, man. I told you I was tired. I told you I
                                                                    6    A. I can't even tell you the last time I talked to Ron.    6      was tired. Oh, shit.
                                                                    7    Q. Did you ever talk to Ron about what happened in this    7    Q. Well, you know, it's important -- the testimony that
                                                                    8      case with regard to what happened at Harlem Park High    8      you are giving today is important for both of us.
                                                                    9      School since the trial?                                  9    A. Can we do this another day? Can we do this like
                                                                    10   A. No, nope, I didn't.                                     10     tomorrow or something?
                                                                    11   Q. Do you remember an individual by the name of Edward     11   Q. Yeah. Well -- hold on one second. I think -- what is
                                                                    12     Capers?                                                  12     the reason that you want to do it tomorrow and not
                                                                    13   A. Yes.                                                    13     today?
                                                                    14   Q. When was the last time you spoke to Edward Capers?      14   A. I'm tired. I just told you, man, I have not been to
                                                                    15   A. I ain't seen -- let me tell you. I haven't seen Ron,    15     sleep in a couple of days. I have been moving. It's
                                                                    16     I haven't Ron Bishop or Edward Capers I know in --       16     coming down now like -- oh, shit.
                                                                    17     damn, it's been like decades, man. I haven't seen        17   Q. Understood. If we would reschedule this for tomorrow,
                                                                    18     either one of them since this whole incident. I          18     are you able to go home and get some -- to find
                                                                    19     haven't seen either one of them. I can't even tell       19     somewhere to get some sleep so you are okay to do this
                                                                    20     you how long it's been, that's how long it's been.       20     tomorrow?
                                                                    21   Q. Understood. Let me ask you: Do you have an              21   A. Yes, I got an idea where I'm going to go.
                                                                    22     independent -- an independent -- strike that.            22   Q. It's really important --
                                                                                                                              18                                                               20
                                                                    1          Tell me just briefly about your life since           1 A. I understood. I understand. I already got an idea
                                                                    2    1983  until today. Give me like what have you been         2     where I'm going at. I have got to go to sleep.
                                                                    3    doing with your life, where have you been, what's been     3 Q. Right. Mr. Flowers -- I mean hopefully I speak for
                                                                    4    going on.                                                  4     Mr. Flowers. We both would like you to take a sleep
                                                                    5 A. I went to school. I graduated. I went to college. I        5     and get rest. We're -- we're blocking out our time to
                                                                    6    didn't finish. I lived on my own for a while. Got          6     make this happen, but we want you to rest.
                                                                    7    married. Didn't like that. Got in trouble with the         7  A.  Okay.
                                                                    8    police. Went to jail. Came home. Went to jail              8           MR. FLOWERS: Couple of things. I just
                                                                    9    again. And that would be it. That's basically the          9     want to just note for the record that Mr. Caldwell has
                                                                    10 gist of it.                                                  10 his hands in his head and he is kind of slumping down
                                                                    11 Q. How long did you spend in jail? Strike that.              11 and really seems to be at pains to be able to be here
                                                                    12         When was the last time you were in jail?             12 today and testify today. I know we're taking a video
                                                                    13 A. The last time I was in jail was -- let me see, was        13 of this, but I also just want for the written record
                                                                    14 2009 and I got out 2015.                                     14 it to be clear the observations that we're seeing just
                                                                    15 Q. What were you in jail for in 2015?                        15 so -- so the written record is also clear.
                                                                    16 A. Robbery.                                                  16          As I said, Mr. Kamionski, certainly it's
                                                                    17 Q. I want to draw your attention back to November of 1983    17    your deposition  and we'll follow your lead as to what
                                                                    18 when you were a student in Harlem Park High School,          18 next steps you would like to do.
                                                                    19 okay?                                                        19          MR. KAMIONSKI: I would like to have
                                                                    20 A. Mm-hmm.                                                   20 Mr. Caldwell go take a nap. If I was the way you just
                                                                    21 Q. Hold on one second.                                       21 described it, Kobie, I would also want to take a nap.
                                                                    22         Do you remember the shooting of DeWitt               22 I think -- why don't we do this --
                                                                                                                     PLANET DEPOS
                                                                                                        888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                             Transcript of John Caldwell                                       6 (21 to 24)

Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 7 of 16

                                                                                                            Conducted on February 1, 2022
                                                                                                                         21                                                                 23
                                                                    1           THE WITNESS: I'm sorry. I apologize.            1           CERTIFICATE OF NOTARY
                                                                    2           MR. KAMIONSKI: Mr. Caldwell, it's okay,         2    STATE OF MICHIGAN )
                                                                    3 man. It's okay. It sounds like you are going through      3             ) SS
                                                                    4 a lot. Okay. Haven't slept in three days, going           4    COUNTY OF WAYNE )
                                                                    5 through a lot.                                            5
                                                                    6           THE WITNESS: You have no idea, man.             6               I, RENEE J. OGDEN, certify that this
                                                                    7           MR. KAMIONSKI: I'm sure I don't. I              7    deposition was taken before me on the date
                                                                    8 definitely want you to go get some rest. Okay. So         8    hereinbefore set forth; that the foregoing questions
                                                                    9 let's reschedule this. I would like to do it tomorrow     9    and answers were recorded by me stenographically and
                                                                    10 if you are able to do it tomorrow. If you cannot do      10   reduced to computer transcription; that this is a
                                                                    11 it tomorrow, I'd like you to call us and let us know.    11   true, full and correct transcript of my stenographic
                                                                    12 We're going to plan for tomorrow the same time           12   notes so taken; and that I am not related to, nor of
                                                                    13 tomorrow at the same location. Okay?                     13   counsel to, either party nor interested in the event
                                                                    14          THE WITNESS: Same place?                        14   of this cause.
                                                                    15          MR. FLOWERS: Mr. Caldwell, I would also         15
                                                                    16 just like to say, listen, I understand from what you     16
                                                                    17 were able to testify about that you are unhoused, that   17        ___________________________________________
                                                                    18 you are homeless. I want to say just from one human      18               RENEE J. OGDEN, CSR-3455
                                                                    19 to another human, you know, that I certainly wish you    19               Notary Public,
                                                                    20 the best of luck with the situation that you are in.     20               Wayne County, Michigan
                                                                    21          As Mr. Kamionski has said, your testimony       21   My Commission expires: June 21, 2025
                                                                    22 is important to his clients and certainly to our         22
                                                                                                                         22
                                                                    1 clients, but your health is most important. So,
                                                                    2 please, sir, do whatever you need to do, take care of
                                                                    3 your health. I am sorry that you are without a home.
                                                                    4          THE WITNESS: I appreciate that, man. I
                                                                    5 do.
                                                                    6          VIDEO TECHNICIAN: This is the
                                                                    7  videographer.   Would you like to go off the record to
                                                                    8 suspend the deposition?
                                                                    9          MR. KAMIONSKI: I think at this point the
                                                                    10 witness has indicated that he is -- doesn't wish to
                                                                    11 continue because he is not -- he is very tired and he
                                                                    12 needs to get some rest. I think from both sides we're
                                                                    13 going to suspend it reschedule it hopefully for
                                                                    14 tomorrow if the witness can make it.
                                                                    15         VIDEO TECHNICIAN: Just a moment, please.
                                                                    16 We're going off the record. The time is 10:34 a.m.
                                                                    17         (The deposition was concluded at
                                                                    18         10:34 a.m.)
                                                                    19
                                                                    20
                                                                    21
                                                                    22
                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                              Transcript of John Caldwell
                                                                                             Conducted on February 1, 2022                         7
Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 8 of 16




                                                                             A          al                   anyways             baltimore
                                                                    abandominium        1:4, 1:9, 6:3        10:16               2:6, 2:8, 2:19,
                                                                    11:13               alcohol              apologize           3:2, 3:7, 7:3
                                                                    able                11:21                5:19, 21:1          basically
                                                                    19:4, 19:18,        alfred               appearances         18:9
                                                                    20:11, 21:10,       1:4, 6:2, 6:21       2:1                 basis
                                                                    21:17               all                  appearing           11:17
                                                                    about               5:21, 13:8,          7:3                 bathroom
                                                                    9:11, 14:12,        13:10                appreciate          11:3, 11:7
                                                                    14:22, 17:3,        along                22:4                because
                                                                    17:7, 18:1,         6:16                 arrangement         22:11
                                                                    21:17               already              7:17                been
                                                                    accurate            20:1                 ashe                8:4, 11:22,
                                                                    16:3                also                 3:4, 6:18, 7:2,     12:3, 12:5,
                                                                    acknowledge         3:11, 10:21,         8:1                 17:17, 17:20,
                                                                    7:12                20:13, 20:15,        ashe@baltimorepo-   18:2, 18:3,
                                                                    address             20:21, 21:15         lice                19:14, 19:15
                                                                    11:11               andrew               3:9                 before
                                                                    administering       6:22                 asked               1:17, 5:17,
                                                                    7:14                another              16:14               8:22, 9:22,
                                                                    advance             5:8, 7:1,            asking              10:8, 13:9,
                                                                    5:19                10:11, 19:9,         9:22, 15:6,         13:13, 14:22,
                                                                    affairs             21:19                15:14               23:7
                                                                    3:3                 answer               attending           begins
                                                                    affirmed            9:6, 10:1,           5:5                 6:1
                                                                    8:4                 10:15, 10:16,        attention           behalf
                                                                    after               11:5, 11:7,          18:17               2:2, 2:13, 3:1,
                                                                    8:3                 16:7, 16:8           attorneys           6:21, 7:3
                                                                    again               answering            7:11                besides
                                                                    11:14, 18:9         9:8, 9:18            audible             14:11
                                                                    ago                 answers              9:13                best
                                                                    14:10               9:13, 23:9           audibly             5:7, 21:20
                                                                    agree               anticipate           9:8                 big
                                                                    7:21, 7:22,         5:6, 9:17            avi                 8:10
                                                                    16:2                any                  2:15, 6:15,         birth
                                                                    agreement           5:10, 5:19,          8:18                15:12
                                                                    7:19                7:17, 10:18,         aware               bishop
                                                                    agrees              10:22, 11:20,        5:9                 16:20, 17:1,
                                                                    8:1                 12:9, 12:13,         away                17:16
                                                                    ahead               14:11, 14:14,        5:11, 9:18          blocking
                                                                    6:18, 6:19,         16:15                         B          20:5
                                                                    14:18               anybody                                  both
                                                                                        11:20, 13:21,        back                19:8, 20:4,
                                                                    ain't                                    10:18, 14:9,
                                                                    17:15               14:11, 14:15,                            22:12
                                                                                        15:3, 16:14          16:3, 16:11,        bpd
                                                                    akamionski@nklaw-                        18:17, 19:1
                                                                    llp                 anyone                                   8:1
                                                                                        13:17                backup              break
                                                                    2:21                anything             5:10
                                                                                                                                 10:22, 11:1,
                                                                                        12:12



                                                                                                     PLANET DEPOS
                                                                                        888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                              Transcript of John Caldwell
                                                                                             Conducted on February 1, 2022                      8
Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 9 of 16




                                                                    11:6                certainly            concluded          date
                                                                    briefly             20:16, 21:19,        22:17              6:6, 15:12,
                                                                    12:5, 18:1          21:22                conference         23:7
                                                                    brought             certificate          6:12               dated
                                                                    9:4                 23:1                 connect            13:5
                                                                    brown               certify              5:16               david
                                                                    2:3                 23:6                 connecting         15:11
                                                                    building            chance               5:16               day
                                                                    14:5, 14:8          12:14, 12:15,        consent            19:9
                                                                             C          12:21, 13:8,         7:16               days
                                                                    caldwell            13:13                contents           12:1, 12:4,
                                                                    1:14, 4:4, 6:2,     change               4:1                12:6, 19:15,
                                                                    8:2, 8:9, 8:18,     16:15                continue           21:4
                                                                    11:10, 13:7,        charles              22:11              decades
                                                                    14:18, 15:11,       2:17                 conversation       17:17
                                                                    15:14, 16:7,        chelsea              9:19, 12:16        decides
                                                                    19:4, 20:9,         2:5, 7:1             conversations      10:18
                                                                    20:20, 21:2,        chestnut             5:13, 14:15        defendants
                                                                    21:15               1:4, 6:2, 6:21,      cool               1:10, 2:13,
                                                                    caldwell's          15:4                 17:4               3:1, 6:16
                                                                    13:4                city                 copies             definitely
                                                                    call                3:2, 3:5             12:18              16:1, 21:8
                                                                    21:11               clear                correct            department
                                                                    called              9:12, 9:14,          15:19, 23:11       3:2, 7:4
                                                                    8:3, 10:6           10:1, 20:14,         counsel            depos
                                                                    calls               20:15                6:13, 7:16,        3:13, 5:4,
                                                                    14:14, 16:5         clearer              7:19, 8:1, 23:13   6:10, 7:6
                                                                    came                15:2                 county             deposition
                                                                    18:8                clients              23:4, 23:20        1:13, 6:1,
                                                                    can't               21:22, 22:1          couple             6:11, 7:12,
                                                                    14:6, 14:7,         colleague            19:15, 20:8        7:13, 7:14,
                                                                    17:6, 17:19         6:22                 court              8:22, 10:12,
                                                                    cannot              college              1:1, 6:4, 7:5,     12:12, 20:17,
                                                                    21:10               18:5                 7:7, 7:9, 9:2,     22:8, 22:17,
                                                                    capers              com                  9:10, 9:20, 10:7   23:7
                                                                    17:12, 17:14,       2:10, 2:11,          crawford           described
                                                                    17:16               2:21, 2:22           2:5, 7:1           20:21
                                                                    care                come                 csr                dewitt
                                                                    22:2                10:17                1:17, 23:18        18:22
                                                                    case                coming               currently          discussion
                                                                    1:7, 6:5,           19:16                11:10, 11:19,      5:11
                                                                    13:22, 14:12,       commencing           11:20              district
                                                                    14:16, 17:8         1:15                 customary          1:1, 1:2, 6:4
                                                                    cause               commission           11:4               documents
                                                                    23:14               23:21                         D         12:13, 13:13
                                                                    ccrawford@browng-   compared             damn               doing
                                                                    old                 16:11                17:17              18:3
                                                                    2:11                computer                                donald
                                                                                        5:11, 23:10                             1:9, 6:3



                                                                                                     PLANET DEPOS
                                                                                        888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                            Transcript of John Caldwell
                                                                                           Conducted on February 1, 2022                    9
Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 10 of 16




                                                                     down             ever                 foregoing         graduated
                                                                     9:11, 9:21,      8:22, 10:21,         23:8              18:5
                                                                     19:16, 20:10     11:1, 12:21,         forth             guess
                                                                     downtown         13:17, 13:21,        23:8              15:20
                                                                     14:5, 14:9       14:14, 17:7          friends           guy
                                                                     draw             everyone             17:4              14:7
                                                                     18:17            5:4                  front                      H
                                                                     drink            examination          13:2              hall
                                                                     11:2             4:5, 8:7             full              3:5
                                                                     drugs            examined             15:10, 23:11      hands
                                                                     11:21            8:6                           G        20:10
                                                                     duckett          example              gave              happen
                                                                     19:1             12:13                12:22, 16:13      20:6
                                                                     duly             exhibit              gist              happened
                                                                     8:4              4:10                 18:10             15:15, 17:7,
                                                                     during           exhibits             give              17:8
                                                                     10:12            4:9, 4:11            5:21, 9:13,       happens
                                                                              E       expires              9:22, 12:10,      9:19
                                                                     each             23:21                18:2              harlem
                                                                     5:17                      F           given             17:8, 18:18
                                                                     east             fair                 8:22              head
                                                                     2:6              16:4                 giving            9:9, 20:10
                                                                     eastern          fast                 19:8              health
                                                                     6:8              6:19                 go                22:1, 22:3
                                                                     edward           february             6:18, 6:19,       heard
                                                                     17:11, 17:14,    1:16, 5:1, 6:6       11:3, 11:7,       10:7, 10:8
                                                                     17:16            few                  14:18, 19:2,      hearing
                                                                     either           12:6                 19:18, 19:21,     13:4, 13:18
                                                                     13:18, 17:18,    find                 20:2, 20:20,      help
                                                                     17:19, 23:13     19:18                21:8, 22:7        5:14
                                                                     elliker          finish               god               here
                                                                     6:17             9:22, 18:6           16:1, 19:3        8:11, 10:10,
                                                                     empty            first                going             13:1, 13:3,
                                                                     11:15, 11:16     7:10, 8:4, 9:4,      6:19, 9:17,       20:11
                                                                     enabled          11:8                 10:4, 10:10,      herein
                                                                     5:14             flowers              10:14, 15:1,      8:3
                                                                     engelsberg       2:4, 6:18,           15:14, 15:15,     hereinbefore
                                                                     2:16, 6:17       6:20, 7:22,          18:4, 19:21,      23:8
                                                                     estimate         10:4, 10:5,          20:2, 21:3,       hey
                                                                     13:11            10:13, 14:18,        21:4, 21:12,      11:6
                                                                     et               16:5, 20:3,          22:13, 22:16      hi
                                                                     1:4, 1:9, 6:2,   20:4, 20:8,          goldstein         6:15
                                                                     6:3              21:15                2:3               high
                                                                     even             follow               good              17:8, 18:18
                                                                     9:9, 17:6,       20:17                7:2, 8:9, 8:10,   hit
                                                                     17:19            follows              8:18, 9:4, 16:1   8:13
                                                                     event            8:6                  gov               hold
                                                                     23:13                                 3:9               18:21, 19:11



                                                                                                   PLANET DEPOS
                                                                                      888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                          Transcript of John Caldwell
                                                                                         Conducted on February 1, 2022                     10
Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 11 of 16




                                                                     holliday       interested           21:11, 21:19    llp
                                                                     3:6            23:13                kobie           2:14
                                                                     home           interruptions        2:4, 6:20,      location
                                                                     18:8, 19:18,   5:20                 10:4, 20:21     21:13
                                                                     22:3                    J           kyle            long
                                                                     homeless       jail                 3:4, 3:9, 7:2   10:21, 10:22,
                                                                     21:18          18:8, 18:11,                  L      17:20, 18:11
                                                                     honest         18:12, 18:13,        lady            look
                                                                     12:10          18:15                14:7            12:21, 12:22
                                                                     honor          jeff                 lamont          looks
                                                                     10:8           3:13                 15:11           13:4
                                                                     hopefully      job                  last            lot
                                                                     10:22, 20:3,   1:22                 11:22, 12:3,    12:7, 15:21,
                                                                     22:13          john                 12:6, 15:5,     16:11, 21:4,
                                                                     house          1:14, 3:12,          17:5, 17:6,     21:5
                                                                     11:15, 11:16   4:4, 6:2, 6:9,       17:14, 18:12,   luck
                                                                     human          8:2, 13:4, 13:7,     18:13           21:20
                                                                     21:18, 21:19   15:11                later                    M
                                                                              I     joined               10:18           made
                                                                     idea           6:22                 law             16:15
                                                                     19:21, 20:1,   judge                3:2             make
                                                                     21:6           10:10, 10:14,        lawsuit         15:2, 15:19,
                                                                     identify       10:18                8:20            20:6, 22:14
                                                                     5:15, 5:17,    june                 lawyer          man
                                                                     6:13           15:12, 23:21         7:1, 10:5       12:7, 16:1,
                                                                     ii                      K           lead            17:17, 19:5,
                                                                     15:11          kamionski            20:17           19:14, 21:3,
                                                                     important      2:14, 2:15,          leading         21:6, 22:4
                                                                     9:5, 9:10,     4:6, 6:15, 7:21,     16:5            manner
                                                                     9:12, 9:21,    8:8, 8:18,           legal           7:18
                                                                     10:12, 19:7,   14:21, 16:9,         3:3             married
                                                                     19:8, 19:22,   20:16, 20:19,        less            18:7
                                                                     21:22, 22:1    21:2, 21:7,          13:15           maryland
                                                                     incident       21:21, 22:9          let's           1:2, 2:8, 2:19,
                                                                     17:18          kflowers@browngo-    21:9            3:7, 6:5
                                                                     independent    ld                   levy            matter
                                                                     17:22          2:10                 2:3             6:2
                                                                     index          kincaid              life            maybe
                                                                     4:9            1:9, 6:3             12:7, 18:1,     14:9
                                                                     indicate       kind                 18:3            mayer
                                                                     7:19           20:10                listen          2:16, 6:17
                                                                     indicated      knight               21:16           mean
                                                                     22:10          3:13                 little          11:22, 20:3
                                                                     individual     know                 7:10, 15:2      meet
                                                                     6:16, 8:19,    8:11, 17:16,         live            14:2
                                                                     17:11          19:7, 20:12,         11:10           meeting
                                                                     influence                           lived           14:11, 15:6,
                                                                     11:20                               18:6



                                                                                                 PLANET DEPOS
                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                               Transcript of John Caldwell
                                                                                              Conducted on February 1, 2022                       11
Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 12 of 16




                                                                     15:8                nap                  off-the-record   pages
                                                                     meetings            20:20, 20:21         5:10             1:21
                                                                     14:11               nathan               offered          pains
                                                                     memory              2:14                 4:11             20:11
                                                                     16:2, 16:11         need                 office           park
                                                                     mengelsberg@nkla-   10:22, 11:1,         3:3              17:8, 18:18
                                                                     wllp                22:2                 officers         parkman
                                                                     2:22                needs                8:19             3:12, 6:9
                                                                     met                 22:12                ogden            part
                                                                     13:21, 14:5,        next                 1:17, 7:6,       9:16
                                                                     14:8                20:18                23:6, 23:18      participating
                                                                     mic                 nod                  oh               7:11
                                                                     5:12                9:9                  19:3, 19:6,      parties
                                                                     michael             nope                 19:16            7:16
                                                                     6:17                14:13, 17:10         okay             party
                                                                     michigan            normally             8:16, 8:20,      23:13
                                                                     23:2, 23:20         9:18                 9:2, 11:10,      passed
                                                                     might               north                12:15, 13:8,     15:21
                                                                     10:21               3:6                  13:16, 14:14,    pending
                                                                     minute              notary               15:1, 15:16,     11:5, 11:8
                                                                     8:12, 17:1          23:1, 23:19          18:19, 19:4,     people
                                                                     mm-hmm              note                 19:19, 20:7,     9:19
                                                                     8:21, 9:9,          20:9                 21:2, 21:3,      percent
                                                                     18:20               notes                21:4, 21:8,      13:12, 13:15
                                                                     moment              23:12                21:13            percentage
                                                                     5:22, 22:15         nothing              old              13:12
                                                                     monitor             8:5                  15:19, 16:1      person
                                                                     6:7                 notification         one              10:11
                                                                     more                8:13                 5:7, 9:21,       phone
                                                                     16:3                november             13:7, 17:18,     5:17, 14:14
                                                                     morning             15:16, 15:18,        17:19, 18:21,    physically
                                                                     7:2, 8:9, 8:18      18:17, 19:1          19:11, 21:18     7:12
                                                                     most                number               ones             place
                                                                     22:1                6:5                  12:22, 13:1,     6:11, 11:16,
                                                                     moving                       O           13:3             21:14
                                                                     19:15                                    only             plaintiffs
                                                                                         oath                 9:20, 11:3
                                                                     much                7:14                                  1:5, 2:2, 6:21,
                                                                     13:11, 13:12                             other            10:5, 13:22,
                                                                                         objection            13:6, 13:7,
                                                                     mute                10:6, 10:7,                           14:16, 14:20
                                                                     5:12                                     14:11            plan
                                                                                         10:8, 10:19,         out
                                                                              N          14:19, 16:5                           21:12
                                                                                                              18:14, 20:5      planet
                                                                     name                objections           over
                                                                     7:1, 8:18,          7:17, 10:11,                          3:13, 5:4,
                                                                                                              5:7, 10:13,      6:10, 7:6
                                                                     14:6, 15:10,        10:13, 15:1          12:22
                                                                     16:18, 16:20,       observations                          please
                                                                                                              own              5:6, 5:9, 5:12,
                                                                     17:11               20:14                18:6
                                                                     names               occurred                              5:14, 5:17,
                                                                     14:7, 14:8          16:2                          P       6:13, 6:19, 7:7,
                                                                                                              page
                                                                                                              4:3, 4:10

                                                                                                      PLANET DEPOS
                                                                                         888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                             Transcript of John Caldwell
                                                                                            Conducted on February 1, 2022                     12
Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 13 of 16




                                                                     7:19, 22:2,       20:11                representing    18:18
                                                                     22:15             reason               6:10, 7:6,      screen
                                                                     point             12:9, 19:12          14:3, 14:4      8:10
                                                                     22:9              recant               represents      second
                                                                     police            16:15                13:21, 14:15    9:16, 18:21,
                                                                     7:3, 8:19,        record               reschedule      19:11
                                                                     16:16, 18:8       5:22, 7:20,          19:17, 21:9,    see
                                                                     prepare           9:11, 9:12,          22:13           8:16, 18:13
                                                                     12:12             9:14, 10:1,          rest            seeing
                                                                     present           10:14, 10:17,        20:5, 20:6,     13:16, 20:14
                                                                     3:11, 7:13        13:3, 14:19,         21:8, 22:12     seems
                                                                     preserved         15:10, 20:9,         review          20:11
                                                                     10:17             20:13, 20:15,        12:13, 12:19,   seen
                                                                     prior             22:7, 22:16          13:8, 13:13     17:15, 17:17,
                                                                     13:16, 13:19      recorded             right           17:19
                                                                     probably          23:9                 5:21, 9:2,      sense
                                                                     8:13              recording            9:18, 12:8,     15:19
                                                                     problem           5:9, 8:14            16:13, 20:3     sent
                                                                     11:2              reduced              robbery         12:18
                                                                     proceeding        23:10                18:16           set
                                                                     5:5, 5:10         regard               ron             23:8
                                                                     public            17:8                 16:20, 17:1,    shit
                                                                     23:19             regular              17:4, 17:5,     19:6, 19:16
                                                                     purposes          9:19, 11:16          17:6, 17:7,     shooting
                                                                     5:10              related              17:15, 17:16    18:22, 19:2
                                                                     put               23:12                room            should
                                                                     14:19             remember             3:5, 7:13       5:11
                                                                              Q        5:6, 5:12,           rpr             show
                                                                     question          12:19, 16:18,        1:17            13:2
                                                                     9:22, 10:16,      16:20, 17:2,         rule            shown
                                                                     11:4, 11:5,       17:3, 17:11,         9:4, 10:10,     13:17
                                                                     11:7, 15:2        18:22, 19:2          10:15, 10:18    sides
                                                                     questions         remotely             run             22:12
                                                                     9:6, 9:8, 9:13,   5:5, 6:12, 7:15      5:6             signature-bi6ds
                                                                     9:16, 9:18,       renee                         S      23:15
                                                                     11:19, 15:15,     1:17, 7:6,           said            since
                                                                     23:8              23:6, 23:18          20:16, 21:21    15:5, 15:6,
                                                                                       rephrase             same            15:8, 15:21,
                                                                              R        15:1                 21:12, 21:13,   16:13, 16:14,
                                                                     ransom            reporter                             17:9, 17:18,
                                                                     6:21                                   21:14
                                                                                       5:15, 7:5, 7:7,      say             18:1
                                                                     rarely            7:9, 9:10, 9:20                      sir
                                                                     12:8                                   11:6, 11:14,
                                                                                       reporting            12:15, 13:3,    8:22, 9:7,
                                                                     read-on           7:14, 7:18                           15:13, 22:2
                                                                     7:10                                   13:15, 14:9,
                                                                                       represent            21:16, 21:18    situation
                                                                     really            6:14, 6:16,                          21:20
                                                                     9:5, 19:22,                            school
                                                                                       8:19                 17:9, 18:5,     sleep
                                                                                       represented                          11:22, 12:3,
                                                                                       15:4



                                                                                                    PLANET DEPOS
                                                                                       888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                              Transcript of John Caldwell
                                                                                             Conducted on February 1, 2022                         13
Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 14 of 16




                                                                     12:5, 12:7,        spoke                swear               13:7, 13:17,
                                                                     12:8, 19:3,        17:5, 17:14          7:7                 13:19, 16:13,
                                                                     19:15, 19:19,      spoken               sworn               19:7, 21:21
                                                                     20:2, 20:4         15:3                 8:4                 thank
                                                                     slept              ss                            T          5:4, 5:20
                                                                     21:4               23:3                 table               themselves
                                                                     slowly             standard             4:1                 6:14
                                                                     5:7                6:8                  take                thereupon
                                                                     slumping           start                9:20, 11:6,         8:3
                                                                     20:10              9:17                 15:21, 20:4,        thing
                                                                     smoothly           state                20:20, 20:21,       8:10, 9:21,
                                                                     5:6                6:14, 15:10,         22:2                11:3
                                                                     some               23:2                 taken               things
                                                                     15:15, 19:18,      statements           23:7, 23:12         20:8
                                                                     19:19, 21:8,       16:15                taking              think
                                                                     22:12              states               6:11, 9:11,         12:9, 14:3,
                                                                     somebody           1:1, 6:4             20:12               14:6, 14:7,
                                                                     10:15, 14:3,       stay                 talk                14:17, 19:11,
                                                                     14:4, 16:18        11:12, 11:16         5:7, 17:7           20:22, 22:9,
                                                                     someone            stenographic         talked              22:12
                                                                     16:20              7:9, 23:11           17:6                thomas
                                                                     something          stenographically     talking             16:18
                                                                     10:6, 11:2,        23:9                 9:11, 14:22         three
                                                                     19:10              steps                tech                12:1, 12:3,
                                                                     sometimes          20:18                5:4                 21:4
                                                                     11:18              stewart              technical-related   through
                                                                     somewhat           6:22, 15:5           5:20                15:15, 21:3,
                                                                     10:21              still                technician          21:5
                                                                     somewhere          10:16, 16:8          3:12, 3:13,         time
                                                                     19:19              street               5:21, 7:5, 22:6,    5:17, 6:7, 6:8,
                                                                     sorry              2:6, 2:17, 3:6       22:15               9:21, 10:6,
                                                                     11:1, 11:14,       strike               telephone           10:22, 11:21,
                                                                     12:2, 21:1, 22:3   17:22, 18:11         14:14               15:7, 15:18,
                                                                     sounds             stronger             tell                15:21, 17:5,
                                                                     21:3               16:12                                    17:6, 17:14,
                                                                                                             12:5, 17:6,         18:12, 18:13,
                                                                     south              student              17:15, 17:19,
                                                                     2:17               18:18                                    20:5, 21:12,
                                                                                                             18:1                22:16
                                                                     speak              suite                tells
                                                                     5:7, 10:12,        2:7, 2:18                                times
                                                                                                             10:15               10:4
                                                                     20:3               sun                  testified
                                                                     speaking           14:5, 14:8,                              tired
                                                                                                             8:6, 9:2, 16:16     19:5, 19:6,
                                                                     5:15, 5:18,        15:8                 testify
                                                                     10:11              suppression                              19:14, 22:11
                                                                                                             8:4, 20:12,         today
                                                                     specific           13:4, 13:18          21:17
                                                                     10:19              sure                                     6:9, 7:5, 9:6,
                                                                                                             testifying          10:21, 12:10,
                                                                     speculation        10:7, 21:7           9:5, 13:9
                                                                     16:6               suspend                                  13:9, 13:14,
                                                                                                             testimony           13:16, 13:19,
                                                                     spend              22:8, 22:13          12:10, 13:5,
                                                                     18:11



                                                                                                     PLANET DEPOS
                                                                                        888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                            Transcript of John Caldwell
                                                                                           Conducted on February 1, 2022                      14
Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 15 of 16




                                                                     15:14, 15:22,    unable                         W      17:2, 19:5,
                                                                     16:3, 16:11,     5:15, 12:10          wait             19:11
                                                                     16:14, 18:2,     under                8:11, 9:21,      years
                                                                     19:8, 19:13,     11:20                11:5, 17:1       14:10, 15:5,
                                                                     20:12            understand           waive            15:18, 16:1
                                                                     today's          9:14, 10:1,          7:17             yep
                                                                     6:6, 12:12       10:19, 11:8,         want             15:13
                                                                     told             11:9, 20:1,          11:2, 11:3,      yesterday
                                                                     12:18, 19:5,     21:16                14:9, 16:8,      11:12, 12:16
                                                                     19:14            understood           18:17, 19:12,    younger
                                                                     tomorrow         17:21, 19:17,        20:6, 20:9,      16:12
                                                                     19:10, 19:12,    20:1                 20:13, 20:21,    yourself
                                                                     19:17, 19:20,    unfortunately        21:8, 21:18      5:17
                                                                     21:9, 21:10,     9:20                 watkins          yvette
                                                                     21:11, 21:12,    unhoused             6:22, 15:4       16:18
                                                                     21:13, 22:14     21:17                way                       Z
                                                                     total            united               12:7, 20:20      zoom
                                                                     13:13            1:1, 6:4             wayne            6:12
                                                                     transcript       unless               23:4, 23:20
                                                                     23:11                                                           0
                                                                                      10:15                we'll
                                                                     transcription    until                                 02342
                                                                                                           20:17            1:8, 6:5
                                                                     23:10            15:21, 16:14,        we're
                                                                     transcripts      18:2                                           1
                                                                                                           9:9, 9:11,
                                                                     12:19, 12:21,             V           20:5, 20:12,     10
                                                                     13:9, 13:17      vague                20:14, 21:12,    1:15, 5:2, 6:7,
                                                                     trial            14:19                22:12, 22:16     13:12, 22:16,
                                                                     13:7, 13:18,     vaguely              went             22:18
                                                                     16:16, 17:9      16:21                14:4, 18:5,      100
                                                                     trouble          versus               18:8             3:6
                                                                     18:7             6:3                  whatever         101
                                                                     true             via                  22:2             3:5
                                                                     23:11            5:16, 6:12           whole            1030
                                                                     trust            video                8:5, 15:6,       2:9
                                                                     14:5, 14:8,      3:12, 5:14,          17:18            12
                                                                     15:8             5:16, 5:21, 6:7,     wish             1:15, 5:2, 6:7
                                                                     truth            6:11, 6:12, 7:5,     21:19, 22:10     120
                                                                     8:5              9:10, 20:12,         without          2:6
                                                                     truthful         22:6, 22:15          22:3             15
                                                                     12:10            video-recorded       witness          15:18, 16:1
                                                                     tuesday          6:1                  4:3, 7:8, 8:3,   1968
                                                                     1:16, 5:1, 6:6   videoconference      21:1, 21:6,      15:12
                                                                     two              1:13                 21:14, 22:4,     1983
                                                                     11:22, 12:3,     videographer         22:10, 22:14     15:16, 15:18,
                                                                     14:10, 15:5      6:9, 22:7            written          15:21, 16:3,
                                                                              U       voice                20:13, 20:15     16:13, 16:14,
                                                                     uh-huh           6:13                          Y       18:2, 18:17,
                                                                     14:13            vs                   yeah
                                                                                      1:7                  12:17, 17:1,



                                                                                                   PLANET DEPOS
                                                                                      888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                              Transcript of John Caldwell
                                                                                             Conducted on February 1, 2022   15
Case 1:20-cv-02342-LKG Document 127-4 Filed 02/18/22 Page 16 of 16




                                                                     19:1             575
                                                                     1:-cv            2:17
                                                                     1:8, 6:5                   6
                                                                                2     630
                                                                     20               2:20
                                                                     1:8, 6:5                   8
                                                                     2009             84
                                                                     18:14            13:6
                                                                     2015                       9
                                                                     18:14, 18:15
                                                                     2022             962
                                                                     1:16, 5:1, 6:6   2:9
                                                                     2025
                                                                     23:21
                                                                     21
                                                                     13:6, 23:21
                                                                     21201
                                                                     2:19
                                                                     21202
                                                                     2:8, 3:7
                                                                     23
                                                                     1:21
                                                                     2496
                                                                     3:8
                                                                     2500
                                                                     2:7
                                                                     2nd
                                                                     15:12
                                                                              3
                                                                     34
                                                                     22:16, 22:18
                                                                     3455
                                                                     1:17, 23:18
                                                                     396
                                                                     3:8
                                                                              4
                                                                     402
                                                                     2:18
                                                                     410
                                                                     2:9, 2:20, 3:8
                                                                     426700
                                                                     1:22
                                                                     4493
                                                                     2:20
                                                                              5
                                                                     5/4/84
                                                                     13:6



                                                                                                   PLANET DEPOS
                                                                                      888.433.3767 | WWW.PLANETDEPOS.COM
